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               EXHIBIT
                  4
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                     JAMES D. NEALON - 08/22/2018

  1                  UNITED STATES DISTRICT COURT
  2               NORTHERN DISTRICT OF CALIFORNIA
  3                           SAN FRANCISCO
  4                                  Case No. 3:18-cv-1554-EMC
  5    - - - - - - - - - - - - - - - - - - - x
  6    CRISTA RAMOS, et al.,
  7                   Plaintiffs,
  8    v.
  9    KIRSTJEN NIELSEN, et al.,
10                    Defendants.
11     - - - - - - - - - - - - - - - - - - - -x
12                               VOLUME II
13          VIDEOTAPED DEPOSITION OF JAMES D. NEALON
14             Wednesday, August 22, 2018 1:15 p.m.
15                         Sidley Austin LLP
16              60 State Street, Boston, MA 02109
17
18
19
20     Reported by:
21     Janet Sambataro, RMR, CRR, CLR
22     JOB NO. LA-189184
23
24
25


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  1
  2
  3                               August 22, 2018
  4                               1:15 p.m.
  5
  6
  7
  8           Videotaped deposition of JAMES NEALON,
  9    held at the offices of Sidley Austin LLP, 60
10     State Street, Boston, Massachusetts, pursuant to
11     Agreement before Janet Sambataro, a Registered
12     Merit Reporter, Certified Realtime Reporter,
13     Certified LiveNote Reporter, and a Notary Public
14     within and for the Commonwealth of Massachusetts.
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  1           A.     Correct.                                               14:31:07
  2           Q.     Were any of the other people in your --                14:31:07
  3    to your understanding, who were copied there                         14:31:09
  4    connected to the Domestic Policy Council?                            14:31:10
  5           A.     You know, I just don't know what their                 14:31:17
  6    titles were in the White House.                                      14:31:20
  7           Q.     Okay.    And did you understand whether                14:31:22
  8    the Domestic Policy Council had a particular role                    14:31:25
  9    or equity in TPS?                                                    14:31:28
10            A.     So when you say "role" or "equity," you                14:31:32
11     know, TPS, by its nature, is a Secretary of                          14:31:40
12     Homeland Security decision.            In other words, it            14:31:45
13     was her decision to make, not -- it was not in                       14:31:49
14     the White House decision.                                            14:31:54
15            Q.     Was there a particular interest from                   14:31:58
16     the Domestic Policy Council that had been                            14:32:01
17     expressed, to your understanding?                                    14:32:04
18            A.     Again, so I go back to the conversation                14:32:07
19     that we already spoke about that I had with Chad                     14:32:13
20     Wolf, the brief conversation in which he                             14:32:17
21     indicated that Mr. Miller was -- was in frequent                     14:32:19
22     touch with him about -- about TPS.                                   14:32:23
23            Q.     Do you know why the White House Chief                  14:32:32
24     of Staff in communication with the Domestic                          14:32:35
 25    Policy Council around TPS?                                           14:32:37


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  1                  MR. KIRSCHNER:       Objection.       Assumes          14:32:40
  2    facts not in evidence.           I don't think he said the           14:32:40
  3    White House Chief of Staff.                                          14:32:42
  4                  MS. MacLEAN:       Sorry.    Thank you.                14:32:43
  5                  MR. KIRSCHNER:       It also calls for                 14:32:45
  6    speculation.                                                         14:32:46
  7           Q.     Do you know why the DHS Secretary's                    14:32:48
  8    Chief of Staff in communication with someone from                    14:32:50
  9    the Domestic Policy Council about TPS?                               14:32:53
10                   MR. KIRSCHNER:       Again, objection.                 14:32:56
11     Calls for speculation.                                               14:32:57
12            A.     So -- so I don't know specifically.                    14:32:58
13     You know, from my experience in government, I                        14:33:01
14     know it's a very normal thing for people to                          14:33:04
15     communicate about upcoming policy decisions                          14:33:08
16     across agencies and -- and with the White House.                     14:33:13
17     It's not an unusual thing.                                           14:33:16
18                       (Document Bates-stamped                            14:33:18
19         DPP_00003553 and -3554 marked Exhibit 55.)                       14:33:18
20                   MS. MacLEAN:       So I'm just going to mark           14:33:21
21     this as Exhibit 55.         I don't think we're going to             14:33:22
22     go through this whole thing, but you can take a                      14:33:36
23     minute to skim over it.           You're not, I think,               14:33:38
24     part of this communication so may have less                          14:33:42
25     familiarity with it.                                                 14:33:45


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  1                  THE WITNESS:       Does this start at the              14:33:48
  2    end?                                                                 14:33:49
  3                  MS. MacLEAN:       I believe it starts at              14:33:50
  4    the end.      Yes, it does start at the end.                         14:33:51
  5                  THE WITNESS:       Let me just read a little           14:33:54
  6    bit --                                                               14:33:55
  7                  MS. MacLEAN:       Yup.    Yup.                        14:33:57
  8                  THE WITNESS:       -- so I know what we're             14:33:59
  9    talking about.                                                       14:34:00
10            A.     Okay.                                                  14:35:24
11            Q.     So the first e-mail from October 22nd,                 14:35:25
12     2017, that is on page that is Bates-stamped                          14:35:30
13     DPP3555, Ms. Nuebel Kovarik is reaching out to                       14:35:34
14     Mr. Zadrozny, Ms. Bash, Mr. Whetstone and                            14:35:43
15     Mr. Wetmore.       She identifies them as DPC friends.               14:35:46
16            Do you understand what Ms. Nuebel Kovarik is                  14:35:55
17     asking there?                                                        14:35:57
18            A.     Yes.                                                   14:35:59
19            Q.     What do you understand her to be                       14:36:00
20     asking?                                                              14:36:01
21                   MR. KIRSCHNER:       Objection.       Calls for        14:36:02
22     speculation.                                                         14:36:03
 23           A.     So based on what I see here in the                     14:36:05
 24    e-mail, Ms. Nuebel Kovarik is saying that                            14:36:07
 25    Secretary Duke would like to get input from other                    14:36:14


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  1    departments and agencies in the inner agency, and                    14:36:18
  2    then the e-mail chain that ensues is a lot of                        14:36:23
  3    ideas and discussion about how best to do that.                      14:36:28
  4           Q.     So there is a reference on the                         14:36:32
  5    following e-mail to PCC, which is on DPP3554.                        14:36:33
  6    That's the Bates number.                                             14:36:41
  7           What is a PCC?                                                14:36:43
  8           A.     A PCC is a policy coordinating                         14:36:45
  9    committee.                                                           14:36:48
10            Q.     And is that a standard entity or thing                 14:36:52
11     or process within the government?                                    14:36:59
12            A.     A PCC is a vehicle that is used to                     14:37:00
13     coordinate policy among the inner agency.                 So if      14:37:05
14     there's a policy decision that is coming up, a                       14:37:11
15     PCC is normally the lowest-level coordinating                        14:37:17
16     body that would convene to begin the process of                      14:37:22
17     coordinating that particular policy.                                 14:37:26
18            Q.     And who would usually participate in a                 14:37:28
19     PCC?                                                                 14:37:31
20            A.     So it's -- it's completely ad hoc.              It     14:37:31
21     depends on the subject matter and it depends on                      14:37:34
22     who each agency wants to send, but a PCC is                          14:37:40
23     generally a sort of high-working-level entity.                       14:37:45
24            Q.     So Mr. Zadrozny then speaks about a                    14:37:56
25     paper PC.      What is a paper PC, if you know?                      14:37:59


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  1           A.     So a PC is different from a PCC.              A PC     14:38:03
  2    is a principals committee meeting.               And a               14:38:07
  3    principals committee meeting is a -- generally a                     14:38:10
  4    cabinet-level meeting.           It's not -- it's not a              14:38:15
  5    cabinet meeting.        It's a meeting of people at the              14:38:21
  6    cabinet level to coordinate policy.                                  14:38:23
  7           Q.     So who -- and --                                       14:38:26
  8           A.     And, sorry, just to finish.                            14:38:29
  9           A paper PC would be a virtual meeting that                    14:38:31
10     takes place on paper rather than convening those                     14:38:36
11     people in a meeting.                                                 14:38:41
12            Q.     Okay.    And then two e-mails up,                      14:38:48
13     Mr. Hamilton is speaking about three different                       14:38:52
14     types of convenings, either convenings on paper,                     14:38:56
15     I imagine, or convenings in person, that PCC and                     14:39:00
16     the PC which we spoke about, and then also a DC.                     14:39:04
17            Do you see that?                                              14:39:06
18            A.     I do.                                                  14:39:07
19            Q.     What does a DC refer to?                               14:39:08
20            A.     A DC is a deputies committee meeting.                  14:39:11
21            Q.     And what is that?                                      14:39:15
22            A.     So there's a -- there's an order to                    14:39:18
 23    these things.         A PCC is the lowest level of the               14:39:20
 24    three.      As I say, it takes place at the -- sort                  14:39:25
 25    of high-working level.           A deputies committee                14:39:28


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  1    meeting would be, in principle anyway, deputies                      14:39:31
  2    at the cabinet level.          So the Deputy Secretary of            14:39:38
  3    State, the Deputy Attorney General, et cetera.                       14:39:41
  4    And then a principals committee meeting would be                     14:39:46
  5    their bosses, the actual cabinet members, the                        14:39:48
  6    principals.                                                          14:39:51
  7           Q.     Do you know if a PCC was ever convened                 14:39:52
  8    with regard to TPS?         Policy coordinating                      14:39:55
  9    committee?                                                           14:39:58
10            A.     I don't recall.                                        14:40:00
11             Q.    Do you know if a DC was ever convened                  14:40:02
12     with regard to TPS?                                                  14:40:05
13             A.    I don't recall.                                        14:40:06
14                       (Document Bates-stamped                            14:40:07
15         DPP_00003566 through -3581 marked Exhibit                        14:40:07
16         56.)                                                             14:40:07
17                   THE WITNESS:       Thank you.                          14:40:25
18     BY MS. MacLEAN:                                                      14:40:26
19             Q.    So I've entered into evidence                          14:40:29
20     Exhibit 56.       I'll give you a moment to review                   14:40:31
21     that.    You don't need to read it in its entirety                   14:40:35
22     right now, but to get some familiarity with it.                      14:40:38
23                   MR. KIRSCHNER:       What exhibit number is            14:41:42
24     this?                                                                14:41:43
 25                  MS. MacLEAN:       56.                                 14:41:43


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